Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 1 of 20
Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 2 of 20




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3/21/2018                                                  USPS.com® - USPS Tracking® Results
                      Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 3 of 20

   USPS Tracking
                                            ®                                    FAQs      (http://faq.usps.com/?articleId=220900)




                                                  Track Another Package                     +


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   Tracking Number: 70170190000025528696

   Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
   MARLBORO, MD 20772.




     Delivered
   January 27, 2018 at 3:26 pm
   Delivered, Left with Individual
   UPPER MARLBORO, MD 20772 




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       Tracking History


       January 27, 2018, 3:26 pm
       Delivered, Left with Individual
       UPPER MARLBORO, MD 20772 
       Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
       MARLBORO, MD 20772.



       January 27, 2018, 6:58 am
       Departed USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018, 5:58 pm
       Arrived at USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018
       In Transit to Next Facility



https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70170190000025528696                                                        1/4
3/21/2018                                                  USPS.com® - USPS Tracking® Results
                      Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 4 of 20
       January 25, 2018, 11:08 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER 




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       Product Information



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                                  Can’t find what you’re looking for?
                          Go to our FAQs section to find answers to your tracking questions.


                                      FAQs (http://faq.usps.com/?articleId=220900)




                   The easiest tracking number is the one you don't have to know.

    With Informed Delivery®, you never have to type in another tracking number. Sign up to:

       See images* of incoming mail.


https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=70170190000025528696                      2/4
Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 5 of 20
Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 6 of 20




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3/21/2018                                                USPS.com® - USPS Tracking® Results
                      Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 7 of 20

   USPS Tracking
                                           ®                                FAQs       (http://faq.usps.com/?articleId=220900)




                                                Track Another Package                   +


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   Tracking Number: 70170190000025528719

   Your item was delivered to an individual at the address at 3:52 pm on February 2, 2018 in UPPER
   MARLBORO, MD 20772.




     Delivered
   February 2, 2018 at 3:52 pm
   Delivered, Left with Individual
   UPPER MARLBORO, MD 20772 




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       Tracking History


       February 2, 2018, 3:52 pm
       Delivered, Left with Individual
       UPPER MARLBORO, MD 20772 
       Your item was delivered to an individual at the address at 3:52 pm on February 2, 2018 in UPPER
       MARLBORO, MD 20772.



       January 31, 2018, 10:36 am
       Out for Delivery
       UPPER MARLBORO, MD 20772 



       January 31, 2018, 10:26 am
       Sorting Complete
       UPPER MARLBORO, MD 20772 



       January 30, 2018, 9:15 am
       Arrived at Unit
       UPPER MARLBORO, MD 20772 

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70170190000025528719%2C%2C                    1/3
3/21/2018                                                USPS.com® - USPS Tracking® Results
                      Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 8 of 20
       January 25, 2018, 11:08 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER 




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       Product Information



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                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


                                     FAQs (http://faq.usps.com/?articleId=220900)




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       See images* of incoming mail.


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Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 9 of 20
Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 10 of 20




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                     Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 11 of 20

   USPS Tracking
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   Tracking Number: 70170190000025528702

   Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
   MARLBORO, MD 20772.




     Delivered
   January 27, 2018 at 3:26 pm
   Delivered, Left with Individual
   UPPER MARLBORO, MD 20772 




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       Tracking History


       January 27, 2018, 3:26 pm
       Delivered, Left with Individual
       UPPER MARLBORO, MD 20772 
       Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
       MARLBORO, MD 20772.



       January 27, 2018, 6:58 am
       Departed USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018, 5:58 pm
       Arrived at USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018
       In Transit to Next Facility



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3/21/2018                                                USPS.com® - USPS Tracking® Results
                     Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 12 of 20
       January 25, 2018, 11:08 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER 




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       Product Information



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                                     FAQs (http://faq.usps.com/?articleId=220900)




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Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 13 of 20
                                                           Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 14 of 20


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                     Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 15 of 20

   USPS Tracking
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   Tracking Number: 70170190000025528726

   Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
   MARLBORO, MD 20772.




     Delivered
   January 27, 2018 at 3:26 pm
   Delivered, Left with Individual
   UPPER MARLBORO, MD 20772 




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       Tracking History


       January 27, 2018, 3:26 pm
       Delivered, Left with Individual
       UPPER MARLBORO, MD 20772 
       Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
       MARLBORO, MD 20772.



       January 27, 2018, 6:58 am
       Departed USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018, 5:58 pm
       Arrived at USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018
       In Transit to Next Facility



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3/21/2018                                                USPS.com® - USPS Tracking® Results
                     Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 16 of 20
       January 25, 2018, 11:08 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER 




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       Product Information



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Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 17 of 20
Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 18 of 20




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                     Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 19 of 20

   USPS Tracking
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   Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
   MARLBORO, MD 20772.




     Delivered
   January 27, 2018 at 3:26 pm
   Delivered, Left with Individual
   UPPER MARLBORO, MD 20772 




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       Tracking History


       January 27, 2018, 3:26 pm
       Delivered, Left with Individual
       UPPER MARLBORO, MD 20772 
       Your item was delivered to an individual at the address at 3:26 pm on January 27, 2018 in UPPER
       MARLBORO, MD 20772.



       January 27, 2018, 6:58 am
       Departed USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018, 5:58 pm
       Arrived at USPS Regional Facility
       SOUTHERN MD DISTRIBUTION CENTER 



       January 26, 2018, 3:11 pm
       Arrived at USPS Regional Facility                                                    How can I help you?
       WASHINGTON DC DISTRIBUTION CENTER 

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3/21/2018                                                USPS.com® - USPS Tracking® Results
                     Case 8:18-cv-00160-PJM Document 16 Filed 03/21/18 Page 20 of 20
       January 26, 2018
       In Transit to Next Facility



       January 25, 2018, 11:08 pm
       Arrived at USPS Regional Facility
       GAITHERSBURG MD DISTRIBUTION CENTER 




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                                 Can’t find what you’re looking for?
                         Go to our FAQs section to find answers to your tracking questions.


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